Case 2:04-cV-02446-.]DB-tmp Document47 Filed 07/26/05 PagelofS Page|D72

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIV'ISION 05 JUL 26 AH g_ 28

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SMITH & NEPHEW, INC. ,
Plainti£f,
vs. Civ. No. 04-2446-5 P

STRYKER CORPOR.ATI ON 1

Defendant.

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ORDER VACATING JULY 19, 2005 ORDER GRANTING PLAINTIFF'S MOTION
FOR LEAYE TO FILE SECOND AMENDED COMPLAINT

 

On July 19, 2005, the court entered an order granting
plaintiff's Motion for Leave to File Second Amended Complaint (dkt
#44). The motion was granted on the basis that, according to the
court's records, the defendant had not filed a response as required
under Local Rule 7.2(a)(2). However, subsequent to the court
entering that order, the defendant informed the court that it had,
in fact, timely filed a response on July 12, 2005, but that
apparently the response was not docketed in the Clerk's Office.

Therefore, the court's July 19 order is hereby VACATED.

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IT IS SO ORDERED.

 

TU M. PHAM
United States Magistrate Judge
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Honorable J. Breen
US DISTRICT COURT

